                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
                                           )              Case No. 3:21-mj-2679
       v.                                  )
                                           )              Magistrate Judge Frensley
                                           )
LISA MARIE EISENHART                       )

                               MOTION FOR DETENTION

       Pursuant to Title 18, United States Code, Section 3142, the Government moves to have the

Defendant detained pending proceedings in this matter on the basis that she may flee and that,

based on the conduct described in the affidavit supporting the Criminal Complaint, she poses a

danger to the community and a risk of flight. For the reasons outlined in greater detail in the

Memorandum in Support of this Motion, the Defendant should be detained pending her trial.

                                                   Respectfully submitted,

                                                   DONALD Q. COCHRAN
                                                   United States Attorney for the
                                                   Middle District of Tennessee

                                           By:     s/ Joshua A. Kurtzman
                                                   JOSHUA A. KURTZMAN
                                                   Assistant United States Attorney
                                                   110 9th Avenue South, Suite A-961
                                                   Nashville, Tennessee 37203
                                                   Phone: 615-401-6617




      Case 3:21-mj-02679 Document 7 Filed 01/22/21 Page 1 of 2 PageID #: 8
                                CERTIFICATE OF SERVICE
       I hereby certify that on January 22, 2021, I sent a copy of the foregoing via the

Court’s electronic filing system to Jonathan Farmer, Esq., counsel for the defendant.

                                             s/ Joshua A. Kurtzman
                                             JOSHUA A. KURTZMAN
                                             Assistant United States Attorney




                                     2
      Case 3:21-mj-02679 Document 7 Filed 01/22/21 Page 2 of 2 PageID #: 9
